         Case 2:98-cv-06151-JMG Document 69 Filed 04/14/22 Page 1 of 1




                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________

SALVATORE CHIMENTI,                                 :
              Petitioner,                           :
                                                    :
                      v.                            :      Civil No. 2:98-cv-06151-JMG
                                                    :
FREDERICK K. FRANK, et al.,                         :
                  Respondents.                      :
__________________________________________

                                            ORDER

       AND NOW, this 14th day of April, 2022, upon consideration of Petitioner’s Motion for

Relief (ECF No. 56), the Commonwealth of Pennsylvania’s Response (ECF No. 66), and it

appearing that the Motion is a successive petition for a writ of habeas corpus under 28 U.S.C. §

2254 of the Antiterrorism and Effective Death Penalty Act, it is hereby ORDERED that the

Motion is TRANSFERRED, pursuant to 28 U.S.C. § 1631, to the Third Circuit Court of Appeals

to determine whether the District Court may consider the successive petition.


                                                    BY THE COURT:


                                                    /s/ John M. Gallagher
                                                    JOHN M. GALLAGHER
                                                    United States District Court Judge
